                                                                 SO ORDERED.


                                                                 Dated: November 4, 2013



        THE LAW OFFICES OF

    2   KELLY G. BLACK, PLC
      1152 E Greenway St Ste 4                          Daniel P. Collins, Bankruptcy Judge
    3 Mesa, AZ 85203-4360                               _________________________________
      P 480-639-6719
    4 F 480-639-6819
      kgb~a kellygblacklaw.com
    5 (former) Attorney for Debtors
      By:     Kelly G. Black, No. 016376
    6
                              UNITED STATES BANKRUPTCY COURT
    7
                                       DISTRICT OF ARIZONA
    8
      In re:                                      No. 2:09-bk- 1297 I -DPC
    9
      KENT I. MCCLURE and DOROTHY K.               roceedings under Chapter 13
    p MCCLURE,
                                                  Order for Substitution of Counsel


    2          Pursuant to the Motion for Substitution of Counsel,

    3          IT IS ORDERED substituting Kelly G. Black and the law firm of Kelly G. Black,PLC as

    4   counsel of record for Debtors in place ofJackson White,PC.

    5          IT IS FURTHER ORDERED thatJackson White,PC be withdrawn as counel of record

    6 for Debtors.

    7          IT IS FURTHER ORDERED directing that all further pleadings, notices and other

    8   communications regarding this case be directed to Kelly G. Black and the law firm of Kelly G.

    9   Black,PLC,the attorney for Debtors, whose address and telephone number follow:

   20           1152 E Greenway St, Ste 4
                Mesa, AZ 85203-4360
   21
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   24
                SIGNED AND DATED ABOVE.
   25

   26

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